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                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                       FORT MYERS DIVISION

UNITED STATES OF AMERICA

VS.                                    CASE NO: 2:15-cr-14-FtM-29CM

LORIE ANN WILLIAMS


                                  ORDER

      This matter comes before the Court on the government's Motion

to Authorize Payment From Inmate Trust Account (Doc. #89) filed on

April 1, 2016.    Defendant’s Response (Doc. #90) in opposition was

filed on April 6, 2016.

      On January 26, 2016, the Court sentenced defendant Lorie Ann

Williams to one year and one day imprisonment, followed by two

years of supervised release. (Doc. #75.)             No restitution was

ordered, but a Forfeiture Money Judgment (Doc. #74) in the amount

of $332,500 was entered. (Doc. #75, p. 5.) 1      The government asserts

that defendant has $2,469.75 in her inmate trust account, and the

government wants all of it.       Rather than garnish the account or

obtain it by some other legal process, the government asserts that



      1While the government’s motion asserts that “the balance due
on the restitution is $332,500.00” (Doc. #89, p. 1), the Judgment
did not impose any restitution. A forfeiture money judgment is
not the same as restitution, since its proceeds goes to the
government, not victims.
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the Court can simply order the Bureau of Prisons to take the funds

from the inmate’s trust account and give it to the government.

       “After a district court sentences a federal offender, the

Attorney General, through the BOP, has the responsibility for

administering the sentence. See 18 U.S.C. § 3621(a) (A person who

has been sentenced to a term of imprisonment ... shall be committed

to the custody of the Bureau of Prisons until the expiration of

the term imposed).”          United States v. Wilson, 503 U.S. 329, 335

(1992).        Under    18   U.S.C.     §     3612,    the    Attorney    General     is

responsible for the collection of an unpaid fine and restitution.

The    Attorney     General      has   promulgated       rules     through     the   BOP

establishing an Inmate Financial Responsibility Program (“IFRP”)

designed to help the inmate develop a financial plan to meet

certain financial obligations.               28 C.F.R. § 545.11.         The BOP rule

sets   forth    a    five-tiered       list    of     financial    priorities,       with

“[o]ther federal government obligations” being last.                      28 C.F.R. §

545.11(a).      The BOP rule does not require that all funds in the

inmate’s    trust      account    be   paid    towards       any   of   the   financial

obligations.        28 C.F.R. § 545.11(b).            “When a fine or restitution

is    not   paid    immediately,       the    sentencing       court    should   leave

collection during incarceration to the BOP.”                       United States v.

Vasquez, 333 F. App’x 125, 126 (7th Cir. 2009) (a district court




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lacks authority to intervene directly in the administration of the

BOP’s collection program).      As succinctly stated more recently by

the Seventh Circuit:

           The Attorney General rather than the courts
           “shall be responsible for collection of an
           unpaid fine or restitution” imposed by a
           judgment, 18 U.S.C. § 3612(c), and he has
           delegated his authority to the Bureau of
           Prisons, 18 U.S.C. § 4042(a)(1), which created
           the Inmate Financial Responsibility Program to
           facilitate collection. This delegation is
           proper, United States v. Ellis, 522 F.3d 737,
           738–39 (7th Cir. 2008); Matheny v. Morrison,
           307 F.3d 709, 712 (8th Cir. 2002); Montano–
           Figueroa v. Crabtree, 162 F.3d 548, 550 (9th
           Cir. 1998) (per curiam), and the “courts are
           not authorized to override the Bureau's
           discretion about such matters, any more than
           a judge could dictate particulars about a
           prisoner's meal schedule or recreation (all
           constitutional problems to the side).” United
           States v. Sawyer, 521 F.3d 792, 794 (7th Cir.
           2008); see also United States v. Lampien, 89
           F.3d 1316, 1320 (7th Cir. 1996); United States
           v. Boal, 534 F.3d 965, 966 n.1 (8th Cir. 2008);
           United States v. Comer, 93 F.3d 1271, 1281–82
           (6th Cir. 1996).

In re Buddhi, 658 F.3d 740, 742 (7th Cir. 2011).                The Court

concludes that it has no jurisdiction to order the Bureau of

Prisons to take funds from an inmate’s trust account in order to

satisfy a financial obligation.

     Accordingly, it is hereby

     ORDERED:




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     The Government's Motion to Authorize Payment From Inmate

Trust Account (Doc. #89) is DISMISSED.

     DONE and ORDERED at Fort Myers, Florida, this __8th__ day of

April, 2016.




Copies:
Counsel of Record




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